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                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

J. LEE,

                Plaintiff,
                                                                    No. 1:17-CV-01230-JB-LF
v.

THE BOARD OF REGENTS OF THE
UNIVERSITY OF NEW MEXICO, and
GARNETT S. STOKES, in her official capacity
as the President of the University of New Mexico,

                Defendants.

                      UNOPPOSED MOTON TO EXTEND DEADLINES
                        IN THE AMENDED SCHEUDLING ORDER

          COME NOW Defendants, The Board of Regents of the University of New Mexico

(“UNM”) and Garnett S. Stokes, and hereby request the Court to amend the Amended Scheduling

Order [Doc. 64] to extend certain deadlines and formally reset the Motion Hearing, Pretrial

Conference, and Bench Trial. As grounds, Defendants state:

          1.    On November 26, 2020, at the request of undersigned counsel, the Court held a

telephonic hearing and ruled that it would extend all deadlines in the Amended Scheduling Order

[Doc. 64] by 45 days. The Court has not yet issued its Second Amended Scheduling Order.

          2.    Since November 26, 2020, the law firm at which UNM’s undersigned counsel

practiced (Sheehan & Sheehan, P.A.) has closed and undersigned counsel joined another law firm

(Stelzner, Winter, Warburton, Flores, Sanchez & Dawes, P.A.). Undersigned counsel’s

involvement in winding down his prior law firm has been extensive and time-consuming, and his

move to another law has also resulted in a time-consuming administrative burden.
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        3.      Also, the period since November 26, 2019 to the present date included the holiday

season during which undersigned counsel took some pre-planned time off work. Undersigned

counsel accompanied his mother to Texas from December 28-31, 2019, as the result of the

unexpected death of his uncle on December 25, 2019, and undersigned counsel travelled again to

Texas this week as the result of the unexpected death of his first cousin on January 8, 2020.

        4.      Due to his other professional and personal commitments, undersigned counsel

needs additional time to prepare and file dispositive motions on behalf of Defendants. Defendants

would respectfully request that the Court grant the following extensions:

        Deadline                          Current Deadline1                 New Deadline

        Pretrial motions                  December 2, 2020                  February 6, 2020

        Pretrial Order
        (Plaintiff to Defendants)         January 17, 2020                  March 23, 2020

        Pretrial Order
        (Defendants to Court)             January 28, 2020                  April 3, 2020

        5.      In light of the requested extensions of deadlines, Defendants also request the Court

reset the Motion Hearing (previously set for January 3, 2020), the Pretrial Conference (currently

set for February 10, 2020, at 11:00 a.m.), and Bench Trial (current set for the trailing docket

beginning on February 18, 2020, at 8:30 a.m.).

        6.      Undersigned counsel is currently scheduled to be out of town for another work

engagement from April 6-10, 2020, is currently scheduled for a one-week trial in the Second

Judicial District Court from May 4-8, 2020, and is scheduled for a one-week trial in the First


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  These are the deadlines in the Amended Scheduling Order [Doc. 64], which have not yet been extended by a new
scheduling order following the telephonic hearing on November 26, 2 019.

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Judicial District Court on a trailing docket on May 11-15, 2020, and respectfully requests the Court

not reset the Pretrial Conference and Bench Trial for this matter on those dates.

       7.      Plaintiff’s counsel currently has the following trials/mediations set, and respectfully

requests that the Court not reset the Pretrial Conference and Bench Trial for this matter on these

dates: trial set for January 27-February 7, 2020 in Thirteenth Judicial District Court; mediation on

February 11-14, 2020; mediation on February 17, 2020; mediation on March 25, 2020; trial set on

a trailing docket from March 30 through April 24, 2020 in Second Judicial District Court;

mediation on March 31, 2020; arbitration on April 1-2, 2020; an administrative hearing set from

April 27-May 1, 2020; trial set for May 11-14, 2020 in Second Judicial District Court; mediation

on May 28, 2020; trial set for June 15-23, 2020 in Second Judicial District Court; trial set for July

20-24, 2020 in Thirteenth Judicial District Court; and trial set for August 3-14, 2020 in Second

Judicial District Court.

       8.      Plaintiff does not oppose this Motion.

       9.      Undersigned counsel will submit a proposed Second Amended Scheduling Order

for the Court’s consideration.

       WHEREFORE, Defendants request that the Court amend the Amended Scheduling Order

[Doc. 64] to extend certain deadlines and to reset the Motion Hearing, Pretrial Conference, and

Bench Trial for the foregoing reasons.

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                                           STELZNER, WINTER, WARBURTON,
                                             FLORES, SANCHEZ & DAWES, P.A.
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                                                  /s/ Quentin Smith
                                           By: ______________________________________
                                                  Quentin Smith


                               CERTIFICATE OF SERVICE

        I hereby certify that the foregoing Unopposed Motion to Extend Deadlines in the Amended
Scheduling Order was electronically filed using the CM/ECF system, which caused a copy to be
sent by email to all other parties of record on this 17th day of January, 2020.


                                           /s/ Quentin Smith
                                           __________________________________________
                                           Quentin Smith

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